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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

SHAKIRA JOHNSON, et al.,               )   CASE NO. 1:23 CV 02060
                                       )
                Plaintiffs,            )   JUDGE BRIDGET M. BRENNAN
                                       )
          vs.                          )   JOINT MOTION FOR AN
                                       )   EXTENSION OF 90 DAYS IN WHICH
CUYAHOGA COUNTY,                       )   TO FILE A DISMISSAL ENTRY
                                       )
                Defendant.             )



      Now come the Parties, by and through the undersigned, who respectfully move

this Honorable Court for an extension of 90 days in which to file a dismissal entry.

      A settlement in principle was reached in this matter during an August 7, 2025

mediation with the assistance of Magistrate Judge Jonathan Greenberg. A dismissal

was to be filed on or before November 15, 2024. (ECF 17),
      On November 14, 2024, the Parties moved for an additional 60 days in which

to file a dismissal and this Court granted that motion.

      County Council and the Cuyahoga County Probate Court still need to ratify

the agreement and the process has been delayed by a condition of the Parties
agreement that necessitates obtaining a letter from the Centers for Medicare &

Medicaid Services.

      In addition, the contemplated settlement involves a “carve out” for a related

workers compensation case, which is currently set for mediation on February 19,

2025. The Parties are presently discussing the scope of this “carve out.” The Parties

will promptly inform the court if their discussion regarding the workers compensation

claim may affect the instant case.
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      The Parties hope that the above conditions will have been met on or before May

1, 2025 and, as such, respectfully request that the Court grant this motion for another

90 day extension in which to file a dismissal entry, up to and including May 1, 2025.




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                                 Respectfully,

                                 s/ Peter C. Mapley (per consent)
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